                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )      No. CR 13-1010
              Plaintiff,                    )
                                            )      MEMORANDUM IN SUPPORT
                                            )      OF DEFENDANT’S
vs,                                         )      RESISTANCE TO
                                            )      GOVERNMENT’S
DANIEL LEE CAMPBELL,                        )      MOTION IN LIMINE
                                            )
              Defendant.                    )



       The Defendants submits the following Memorandum in support of his Resistance

to Government’s Motion in Limine and Memorandum which argues that Defendant’s

proposed evidence is irrelevant pursuant to Rule 402 of the Federal Rules of Evidence

which provides that “[e]vidence which is not relevant is not admissible.” Fed. R. Evid.

402.

       This case arose out of facts and circumstances surrounding an incident on

June 10, 2013. At approximately 11:00 pm that evening, police were called in reference

to an individual with a firearm near the area of 15th and Bluff in Dubuque, Iowa. Office

Brokens was dispatched to the scene and observed an individual matching Mr.

Campbell’s description. Officer Brokens stopped his car and got out of the vehicle, and

ordered Mr. Campbell to stop and get on the ground. Mr. Campbell, believing there was

an outstanding warrant for his arrest, ran from the officer. A chase ensued involving

Officer Brokens and Officer Scott. Mr. Campbell eluded the officers but was eventually

apprehended at approximately 12:20 a.m.




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       During that time period, there were not only numerous calls from the public

regarding potential suspects, but calls also came in regarding a group of people near the

area who were involved in criminal conduct. Some of the police officers involved in the

Campbell case were aware of the group of people fighting a few blocks away. (In fact,

there was an incident involving a number of individuals earlier in the evening which

involved allegations of shots being fired).

       All of the events of that evening, including but not limited to the pursuit and

ultimate arrest of Mr. Campbell, took place within a few blocks of one another and were

referenced in police reports provided by the government to the Defendant’s counsel. The

government provided an exhaustive list of calls and police communications that were

provided to Defense counsel. Defense counsel narrowed his list to include only what was

relevant.

       Government argues that Exhibits D, L, M, N, O, P and Q, R, S, and T are

irrelevant to the charge of being a felon in possession of a firearm. However, all such

exhibits are recordings of calls that came in during the time frame in which the Defendant

was still at large, in an area where the Defendant was located, and therefore should be

admitted for the jury to determine their weight and probative value.




                                      s/s MICHAEL M. LINDEMAN – LI0009648
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     CERTIFICATE OF SERVICE
I certify that I emailed a copy of the foregoing
document to which this certificate is attached
to the parties or attorneys of record, shown
below, on the 30th day of August, 2013.

By: Michael M. Lindeman

Copy to:
United States Attorney




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